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James Garretson (00:09):
... Go with them-

Jeff Johnson (00:11):
What are you doing man? Hello?

James Garretson (00:14):
What's going on over there?

Jeff Johnson (00:16):
I woke up sicker than a dog this morning. I don't know what the hell happened. I woke up with a sore
throat and chills. Spent all day laying on the couch sicker than shit.

James Garretson (00:28):
God damn.

Jeff Johnson (00:29):
Yeah, hasn't been no fun at all. I watched the news earlier.

James Garretson (00:37):
How was that?

Jeff Johnson (00:38):
Well, it just seems like-

James Garretson (00:39):
Hold on Justin, I'm on the phone. Give me a second. Hang on.

Jeff Johnson (00:42):
Well, I just gathered that all they said was the confidential informant had a lot to say. Pretty much threw
Jeff Lowe under the bus.

James Garretson (00:53):
Oh.

Jeff Johnson (00:57):
Is that close?

James Garretson (01:00):
Hold on. Hold on. My guys off fucking running a rampage. Now, what did you just say? Sorry about that
Jeff.

Jeff Johnson (01:07):


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Sounded like you threw Jeff Lowe under the bus?

James Garretson (01:09):
Me?

Jeff Johnson (01:10):
Yeah.

James Garretson (01:11):
I told you I was going to.

Jeff Johnson (01:12):
And you did. Sylvia Corkhill got on there at 6:00 and said, "Confidential informant implicated Jeff Lowe
said he was part of planning it. At one point, had maps of Carol's property." Everything she was saying I
was going, "That's James."

James Garretson (01:30):
Did all I could do man.

Jeff Johnson (01:34):
Good. Good for you.

James Garretson (01:35):
I went in there and gave it my all, so-

Jeff Johnson (01:38):
Well, it sounds like you feel a little vindicated. Yeah-

James Garretson (01:41):
Yeah, here's the deal. Here's what made me the worst. I sat down there. Joe blew me kisses.

Jeff Johnson (01:49):
Oh, God.

James Garretson (01:49):
He was so fucking arrogant.

Jeff Johnson (01:51):
Yeah, I figured that.

James Garretson (01:53):
That he was blowing me kisses and smiling and pointing. Fucking idiot.



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Jeff Johnson (02:00):
See, the jury watches that.

James Garretson (02:02):
The jury saw it.

Jeff Johnson (02:03):
Yeah.

James Garretson (02:04):
The guy was shaking his head after he saw it.

Jeff Johnson (02:07):
Yeah, the jury is going to sit there and go, this guy's crazy. So yeah, if he'll act like that in a courtroom,
yeah, I believe he could possibly try to kill somebody. Just by... when you're in court like that, look
straight ahead, no expression-

James Garretson (02:22):
Like you're-

Jeff Johnson (02:24):
I'm talking about Joe.

James Garretson (02:25):
Yeah.

Jeff Johnson (02:25):
He needs to be sitting there like it's a million dollar pot in front of him down to the last two people in a
poker game.

James Garretson (02:34):
Sylvia Corkhill is fucking... when I left there, I talked to her. I said, I went over there. She didn't quote me
doing an interview with her did she?

Jeff Johnson (02:41):
No.

James Garretson (02:41):
Okay. She probably heard it in court.

Jeff Johnson (02:44):
She didn't even use your name.



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James Garretson (02:45):
Okay.

Jeff Johnson (02:45):
She just said that... she kept saying an FBI agent and a confidential informant. When she said that, I said
well, that's got to be James.

James Garretson (02:52):
Okay so-

Jeff Johnson (02:52):
Then she started talking-

James Garretson (02:54):
I went over there when she was... she's so fucking hot too. I'd have probably just fucking give her
everything in my pockets, my life, everything. She's fucking hot.

Jeff Johnson (03:04):
Really?

James Garretson (03:04):
Oh, my God. You ever seen her in person? Beautiful.

Jeff Johnson (03:09):
All be darned.

James Garretson (03:09):
I went over there, beyond me getting a boner. I went over there and I just said, "Hey." She was like, "I
can't believe that Lowe's not charged." I said, "Listen, you just seen the proof that I said. That I told
everybody all along. I didn't get immunity. Jeff Lowe got immunity. I did the dirty work recording the rat.
Did all that shit. I didn't get immunity. Jeff Lowe got immunity." She's fucking livid about it.

Jeff Johnson (03:37):
Well, did he? They said something about-

James Garretson (03:40):
He got immunity. 100% immunity.

Jeff Johnson (03:43):
Well, they said, all they said on the news was that in June he went to meet with, I guess, with Matt that
first time. He asked for immunity and they said that they couldn't do that.

James Garretson (03:52):


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No.

Jeff Johnson (03:53):
But then he went back to-

James Garretson (03:54):
Yes.

Jeff Johnson (03:55):
The attorney general or whatever and in July and they basically, the only immunity was that he could
not be incriminated on anything that was said in that interview.

James Garretson (04:07):
Yeah, that's a Rule 11 granting.

Jeff Johnson (04:10):
Yeah, so he's not... immunity, not really. What he's doing still-

James Garretson (04:15):
No, he has immunity. No, no, but with the case, they gave him immunity.

Jeff Johnson (04:20):
See, Matt told me himself. He laughed when I told him that John Finley wanted immunity.

James Garretson (04:25):
Yeah.

Jeff Johnson (04:26):
He said with the federal government we don't do that.

James Garretson (04:28):
I didn't even get fucking immunity. Bentley.

Jeff Johnson (04:30):
Wow.

James Garretson (04:35):
Bentley, go. I don't know what the deal is. I didn't even get it.

Jeff Johnson (04:40):
Well, Sylvia is pissed because of what... I was on the phone with her last night about that bunch of dead
cow bullshit. My God, every state agency told me to shut the fuck up last night.



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James Garretson (04:51):
No.

Jeff Johnson (04:52):
Yeah. Yeah, I was told to call this one woman with Oklahoma Ag Department.

James Garretson (05:02):
Really?

Jeff Johnson (05:03):
Yeah, and she told me I was going, cool... This is the person to put a stop to it. We'll get this started
because Sylvia was going to send a film crew down there this morning.

James Garretson (05:12):
Really?

Jeff Johnson (05:13):
Jamie, the girl that lives on that property on the north side was supposed to call her this morning. I told
her, you'll have to leave a message because Sylvia's going to be in court. But she said she'll call me
before court starts, she was just going to go ahead a film crew together and another reporter and just
send somebody down to her property to take a look at all the dead cows. She was going to put it on the
news, but she wanted a statement from the Ag Department first. She called the Ag Department and
they really wouldn't say nothing to her. She told me to call them. When I called them, this woman said,
"So you're the admin of that Facebook page?" I said, "Yes ma'am." She said, "We have no comment."

Jeff Johnson (05:53):
I said, "What do you mean you have no comment? This is where I report illegal doings that your entity-

James Garretson (06:02):
We'll get them.

Jeff Johnson (06:03):
The Oklahoma Ag Department and she got pissed at me dude. She finally said, she said, "I have nothing
else to say to you. If you want to follow up on this, you're more than welcome to call the attorney
general."

James Garretson (06:17):
Man.

Jeff Johnson (06:18):
I was like, yeah, like that'll do any good. I'm starting to think the way a few people have been talking to
me is that they're just letting Jeff Lowe slide. They're going to use him and they're going to try to get Joe
put away. The minute this trial's over, they're going to arrest Jeff Lowe.



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James Garretson (06:40):
No.

Jeff Johnson (06:40):
You don't think so?

James Garretson (06:40):
No.

Jeff Johnson (06:43):
I do. They've turned a blind eye on too many things that have been sent by me to Larry Rhodes, to the
city attorney, and have never responded back on any of it. It's too apparent. What was this that Joe
posted tonight?

James Garretson (07:07):
What was it?

Jeff Johnson (07:10):
That at one point that you testified today, that at one point Jeff Lowe had offered you 100 grand to get
rid of Joe.

James Garretson (07:19):
Joe posted that?

Jeff Johnson (07:21):
Yeah.

James Garretson (07:24):
How's he posting?

Jeff Johnson (07:26):
Well, it's not him.

James Garretson (07:27):
Oh, Ronnie Sands.

Jeff Johnson (07:29):
It's probably Ronnie, but she's got people-

James Garretson (07:33):
I can't believe-

Jeff Johnson (07:34):


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Jeff Lowe even said, you're not supposed to hear any testimony until you testify.

James Garretson (07:39):
Well, no. That's not how it worked out. Jeff Lowe told me to call Carole. Remember, I told you this.

Jeff Johnson (07:44):
Yeah.

James Garretson (07:45):
To sell the park for half a million and he'd give me 100,000 out of it.

Jeff Johnson (07:48):
Okay. Okay. Well, that ain't what Joe... Joe-

James Garretson (07:52):
No.

Jeff Johnson (07:53):
Joe kind of embellished that on his Facebook page tonight.

James Garretson (07:56):
Everything that I said is on tape.

Jeff Johnson (07:59):
Right.

James Garretson (08:01):
Joe's a fool for even fucking just... he ought to just go hide in a hole.

Jeff Johnson (08:06):
Yeah.

James Garretson (08:08):
He's on there talking shit already?

Jeff Johnson (08:10):
Yeah.

James Garretson (08:12):
What an idiot.

Jeff Johnson (08:12):



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I didn't even see it. I didn't even see it. Somebody screen shot it and posted it on my group. It says,
basically, that do you people now see the truth's coming out.

James Garretson (08:26):
The truth. The truth is he's going to a lot of time in prison because he's a sorry, animal killing piece of
shit.

Jeff Johnson (08:31):
Yeah, I'm going to have to agree with that.

James Garretson (08:32):
Just how he's-

Jeff Johnson (08:32):
I feel good about what I've done.

James Garretson (08:32):
Was smirking and blowing a kiss. Yeah. You can only do what you can do.

Jeff Johnson (08:38):
That's why I said this was going to be the Joe Show. I knew from seeing him in Garvin County court that
time that he is too stupid to realize that the Garvin County's kangaroo court.

James Garretson (08:51):
Yeah, we need to figure out a way- [crosstalk 00:08:53].

Jeff Johnson (08:52):
Ain't no fucking kangaroo court.

James Garretson (08:54):
We need to figure out a way to whack Ronnie Sands for posting on Joe's behalf.

Jeff Johnson (09:01):
Yeah. I'd like to know who's feeding her information. She's not at the trial is she?

James Garretson (09:07):
No, she's talking to Joe on the phone.

Jeff Johnson (09:10):
Is that what it is?

James Garretson (09:10):
Yeah


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Jeff Johnson (09:12):
Okay, and Joe tells her what to write.

James Garretson (09:14):
Yeah.

Jeff Johnson (09:15):
She wrote what Joe said was that James testified that at one time Jeff Lowe had offered James $100,000
to get rid of me.

James Garretson (09:27):
That is not even what was said in court.

Jeff Johnson (09:30):
That's exactly what he posted tonight.

James Garretson (09:32):
That's not even what was said in court. What a lying mother fucker.

Jeff Johnson (09:38):
What was said was the half million, he'd sell the zoo to her, walk away, give you a hundred. Bye-bye.

James Garretson (09:44):
Basically, yeah. Basically said he... all Jeff wanted to do is sell the fucking zoo to Carole, get $500,000,
give me $100,000 grand, and walk away because he... that's when Carol brought him into the lawsuit
because he wanted to wash his hands of it. At the time, I thought Jeff Lowe was decent. Then come to
find out, he's a bigger snake than Joe, but yeah.

Jeff Johnson (10:03):
That's for sure.

James Garretson (10:06):
That's not even what was fucking said and that transcript's going to prove that.

Jeff Johnson (10:11):
He doesn't know anything-

James Garretson (10:12):
He's a fucking idiot.

Jeff Johnson (10:12):
He doesn't know when to keep his mouth shut, but I just, I've been wondering the whole time if he was
going to be pulling the same shit in federal court that he did in Garvin County.


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James Garretson (10:21):
His lawyer's did him no justice either today.

Jeff Johnson (10:24):
Really?

James Garretson (10:24):
They didn't do him... there was no objections to entering of evidence or anything.

Jeff Johnson (10:29):
Really?

James Garretson (10:29):
It was just like... he was sitting, Joe was sitting there whispering in their ear all day. There was nothing
that they did that was for his benefit.

Jeff Johnson (10:39):
They just... how long were you on the stand.

James Garretson (10:41):
Six hours.

Jeff Johnson (10:42):
Oh my God. Are you kidding me?

James Garretson (10:45):
Yeah, I was in there from 9:45 until 4:30.

Jeff Johnson (10:49):
With no break?

James Garretson (10:51):
We had breaks for 15 minutes and an hour for lunch.

Jeff Johnson (10:54):
Yeah.

James Garretson (10:55):
Yeah.

Jeff Johnson (10:56):
Who else testified today?



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James Garretson (10:58):
Me and Glover. Glover was only the last 20 minutes.

Jeff Johnson (11:01):
Okay.

James Garretson (11:01):
Wow. I can't believe Joe's posting. His lawyer had to tell him, "Stay off the social media."

Jeff Johnson (11:09):
You'd think.

James Garretson (11:12):
$100,000 to get rid of him? That's...

Jeff Johnson (11:14):
Yeah, that Jeff Lowe offered you $100,000 grand to get rid of Joe. He said that you testified today,
basically that Jeff Lowe walked up to you and said, "Hey James, I'll give $100,000 grand if you'll get rid of
Joe." That's what Joe posted this evening.

James Garretson (11:31):
What an idiot. Who's taking all his calls and paying all these calls? Those calls... jail house calls are
expensive.

Jeff Johnson (11:38):
Ronnie Sands.

James Garretson (11:40):
Really?

Jeff Johnson (11:41):
I guarantee it. She's spending more of her husband's company's money.

James Garretson (11:44):
How can we shut her up where she just goes away?

Jeff Johnson (11:48):
You can't. The only thing you could do there would be to anonymously get a hold of her husband.

James Garretson (11:54):
Do you have her husband's number by any chance?

Jeff Johnson (11:57):


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No. I can find it. It's a trucking company.

James Garretson (12:03):
Because just her posting Joe's shit, is just spreading more bullshit for everybody to have to deal with.

Jeff Johnson (12:12):
Yeah. He posted that the Oklahoma Ag Department came out and inspected that piece of property and
there were no violations. Nice try Jamie Green. When are you people going to realize that you can't
outsmart me?

James Garretson (12:28):
Bro, no he didn't? Jeff Lowe posted that?

Jeff Johnson (12:30):
Yep. Yep. I know at one point he posted that there was something said about testimony and he said that
no, I'm not... oh, people were asking him if he had been in court. He said, "No, I'll just be going up there
one day. You can't hear any testimony before you testify." Then he said, "But I've got eyes and ears in
the court building that are sending me all the information."

James Garretson (13:00):
Who said that? Joe?

Jeff Johnson (13:02):
Jeff Lowe.

James Garretson (13:03):
Oh, Jeff Lowe?

Jeff Johnson (13:04):
Jeff Lowe just said that he is hearing all the testimony before he testifies.

James Garretson (13:11):
Really?

Jeff Johnson (13:13):
That right there alone should be enough to disqualify him as any of his testimony. They shouldn't even
allow him to be on the stand.

James Garretson (13:20):
Yeah. You ought to get that-

Jeff Johnson (13:22):




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He just... he just admitted that he's not supposed to be hearing any of it, but he's got people that are
going to the trial and reporting back to him what's being said.

James Garretson (13:31):
Oh yeah, you ought to-

Jeff Johnson (13:33):
If a jury member says, "Hey, somebody snuck me in a burner phone and I'm giving out all this
information to the media." Guess what? That juror's bye-bye.

James Garretson (13:45):
Yeah.

Jeff Johnson (13:47):
That's why they sequester them. That's the whole point of... you couldn't sit in court and listen to
everybody else and then you go up there and testify because listening to everybody else's testimony
could sway your testimony.

James Garretson (14:01):
Yeah.

Jeff Johnson (14:01):
He's admitted that he's got people in court every day reporting back to him. That's how stupid these
people are.

James Garretson (14:15):
Man, I can't believe-

Jeff Johnson (14:16):
You're breaking the law-

James Garretson (14:17):
I can't believe Joe said that and knowing his lawyers probably look at his fucking postings too. That's not
even what was said.

Jeff Johnson (14:22):
Yep.

James Garretson (14:25):
I gave $100,000 grand to make him go away? What benefit would I...

Jeff Johnson (14:29):




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I'm not... if... have Britney look it up. It's on my page. Somebody, I forget who, posted that on my group
this morning. Just an hour ago.

James Garretson (14:41):
I don't care what he says. Whatever he says is irrelevant. He's in a cage. I'm not.

Jeff Johnson (14:46):
That's true.

James Garretson (14:46):
So, yeah.

Jeff Johnson (14:48):
But you said Sylvia's pissed?

James Garretson (14:50):
She is. She was pretty fucking-

Jeff Johnson (14:51):
She just wanted to know why Jeff Lowe's just getting to skate on all this because-

James Garretson (14:54):
She said she even called the Justice Department to quiz them on it.

Jeff Johnson (14:57):
Really? Wow. Yeah, everybody's trying to figure out why Lowe isn't going... I'm sorry. That's why I did
what I did. That's why I went to Joe's attorneys. I'm going, fuck it. This ain't right. This is a witch hunt and
Jeff Lowe, dude, I remember for the past six months, you've told me a million times. Every time I just see
his picture, I just want to punch him in the mouth.

James Garretson (15:25):
Oh, yeah. I hate that fucking guy.

Jeff Johnson (15:26):
I've gotten that way. His voice. Whenever they post up a picture of him and then there would be part of
an interview, "Well, we were victims too." When I hear his voice, I just... I'd like to climb through the TV
and fucking strangle him with his own dick.

James Garretson (15:48):
He's going to lie so much. But see, Jeff Lowe can't tell the truth.

Jeff Johnson (15:51):
No.


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James Garretson (15:52):
You got to think, Jeff Lowe doesn't know what I recorded him... what I didn't.

Jeff Johnson (15:56):
Exactly.

James Garretson (15:57):
See, that's what he's got to... he's probably sweating bullets right now, because he don't know what I
have-

Jeff Johnson (16:02):
I would imagine.

James Garretson (16:02):
He don't know what-

Jeff Johnson (16:02):
I would imagine. He's... when's he testifying? Tomorrow?

James Garretson (16:06):
I don't know.

Jeff Johnson (16:06):
It seems like I had heard somebody say Thursday.

James Garretson (16:10):
See, I went in there loaded. All my stuff was backed up by videos.

Jeff Johnson (16:14):
Right.

James Garretson (16:15):
Lowe doesn't know what I recorded and what I didn't record.

Jeff Johnson (16:18):
Yep.

James Garretson (16:18):
Lowe didn't know I... that he was-

Jeff Johnson (16:21):
He has no idea when you were recording.



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James Garretson (16:23):
And Joe's phone conversations and Lowe's phone conversations, he was like, well... He called them the...
he called Allen Glover and Joe the Merry Hit Men or something like that. Or clowns. It all came-

Jeff Johnson (16:37):
Oh wow.

James Garretson (16:37):
It all came down to court. Yeah.

Jeff Johnson (16:41):
They were playing a bunch of that shit today?

James Garretson (16:43):
They played everything.

Jeff Johnson (16:45):
They played everything?

James Garretson (16:46):
Yeah.

Jeff Johnson (16:47):
Wow.

James Garretson (16:48):
Then the FBI agent goes on tomorrow, I think, in the morning.

Jeff Johnson (16:51):
But see, here's what sucks is if they played everything and a lot of that was going to be what Jeff Lowe
heard or what Jeff Lowe... things that Jeff Lowe said, conversations between somebody and Jeff Lowe.
That was played in court today. Now his people are reporting back to him tonight telling him about all
those phone conversations. Now when he does go to testify, he's prepared to be able to make sure that
he doesn't contradict those recordings.

James Garretson (17:20):
Yeah.

Jeff Johnson (17:21):
That's why you're not supposed to see any testimony. But he's cheating at that.

James Garretson (17:27):
Yeah, he-


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Jeff Johnson (17:28):
I don't think they should have let a single fucking person in that court room.

James Garretson (17:31):
No. There was-

Jeff Johnson (17:34):
Nobody.

James Garretson (17:34):
No. Lowe was just... oh man, he's going to lie so much.

Jeff Johnson (17:41):
But now he's... he's at home right now making a plan because somebody is going, "Okay, well one
recording was saying this, this, and this." So he's going to go, "Okay, I got to remember that." If he didn't
have people in the court room reporting back to him, he would go in there like let's say tomorrow was
his day. He would go-

James Garretson (18:01):
They could be just saying that.

Jeff Johnson (18:01):
In there tomorrow and contradict everything that was on them tapes. Just be proven in federal court a
total liar.

James Garretson (18:10):
Maybe he's just saying that and he doesn't even know what the fuck's going on.

Jeff Johnson (18:14):
Maybe. Who knows? How big a room is it?

James Garretson (18:19):
It's huge. Fucking enormous.

Jeff Johnson (18:20):
It's huge?

James Garretson (18:20):
Yeah.

Jeff Johnson (18:21):
Okay.



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James Garretson (18:21):
Whoever said it was small is a lying mother fucker.

Jeff Johnson (18:24):
Okay. Well, I wonder if they changed rooms.

James Garretson (18:27):
That was a fucking humongous court room.

Jeff Johnson (18:31):
How many people, besides lawyers and all that, just people watching?

James Garretson (18:35):
Reporters, press?

Jeff Johnson (18:35):
Just people in general.

James Garretson (18:39):
Probably 25 or 30.

Jeff Johnson (18:41):
Oh, that's not too bad.

James Garretson (18:43):
Yeah, it was all press.

Jeff Johnson (18:45):
Okay.

James Garretson (18:46):
Eric Goode was there all day. Carole Baskin and them were there half a day. Then when they started
playing all her shit about went out and plotted to kill her, she walked out of the room.

Jeff Johnson (18:57):
Oh really?

James Garretson (19:01):
Yeah. Those tapes are pretty fucking incriminating.

Jeff Johnson (19:05):
Those tapes?



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James Garretson (19:05):
Yeah.

Jeff Johnson (19:06):
Oh, where he's blatantly talking about having her killed?

James Garretson (19:10):
Yeah, he's saying, "I could save all this money and 22 cents bullet would save me from $180,000 in
lawyers." Yeah, he was just... in his defense, his lawyers are saying that Joe knew what was going on. He
just went along with it.

Jeff Johnson (19:24):
He was playing along. Yeah.

James Garretson (19:26):
There's no way he fucking knew-

Jeff Johnson (19:27):
I read that.

James Garretson (19:29):
He wouldn't be saying those things if he knew I was wired.

Jeff Johnson (19:31):
I read that and I went, boy isn't that a hell of a defense.

James Garretson (19:33):
That... yeah, they didn't do him any justice today.

Jeff Johnson (19:42):
No.

James Garretson (19:42):
Who knows?

Jeff Johnson (19:44):
He's going to prison.

James Garretson (19:44):
Somebody... I think he's going away for a long time, but who knows. Even if he's out, he's still going to
be the-

Jeff Johnson (19:47):


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He's going to be the laughing stock.

James Garretson (19:49):
The cheap fuck that tried to hire a $3,000 hit man.

Jeff Johnson (19:53):
Yeah.

James Garretson (19:53):
The embarrassment that he has to put up through.

Jeff Johnson (19:55):
Yeah.

James Garretson (19:55):
It's just, it has to tear him apart because you know he's the star.

Jeff Johnson (20:00):
Yeah, it all has to be about him. Now it's going to be-

James Garretson (20:05):
He's getting torn-

Jeff Johnson (20:06):
All about what a moron he is.

James Garretson (20:06):
Yeah, he's getting torn the fuck down.

Jeff Johnson (20:08):
Wow.

James Garretson (20:10):
I don't know. Man, I'm just going to ignore the fucking Facebook for about three days.

Jeff Johnson (20:14):
Yeah.

James Garretson (20:14):
I think I'm going to drive down to Galveston or something for a couple of days, but-

Jeff Johnson (20:17):
There you go.

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James Garretson (20:18):
Yeah, the press is going to swamp down all over today.

Jeff Johnson (20:22):
Yep.

James Garretson (20:24):
Matt even called me tonight and he never calls me. He says, "You can say what you want in the press,
but just beware, they're out in fucking groves."

Jeff Johnson (20:32):
Yep. So he's never said anything about what I posted about him?

James Garretson (20:38):
Matt? No-

Jeff Johnson (20:39):
Yeah.

James Garretson (20:39):
There was no chit chat with him anymore. He won't chit chat. You know how he used to go into details
with us?

Jeff Johnson (20:44):
Yeah.

James Garretson (20:45):
It's real vague. It's like he's a cop now.

Jeff Johnson (20:48):
Okay. Yeah.

James Garretson (20:50):
It's-

Jeff Johnson (20:51):
That's why I did what I did.

James Garretson (20:52):
Yeah, he's real vague. It's like he got his shit in order.

Jeff Johnson (20:56):
Yeah, you wanted our help and now that you don't need our help, you just treat us...

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James Garretson (21:03):
Yeah.

Jeff Johnson (21:03):
Like shit, so fuck you.

James Garretson (21:06):
But, did you see the amount of money the government spends on this?

Jeff Johnson (21:09):
Isn't that something?

James Garretson (21:10):
It's disgusting.

Jeff Johnson (21:11):
They've dropped millions of dollars on this from start to finish.

James Garretson (21:14):
Millions of dollars to prosecute this fucking loser.

Jeff Johnson (21:16):
Yep. All the under cover shit and all the going down and digging up dead tigers. My God.

James Garretson (21:26):
Are you going to stay after Lowe's ass?

Jeff Johnson (21:28):
Oh yeah.

James Garretson (21:29):
Got you.

Jeff Johnson (21:30):
Yeah, I ain't backing down there. I'm backing off a little bit. I'm just going to go through the motions
right now. I try to update my page and mainly what I'm trying to do tonight is I'm waiting for Sylvia. I
sent her a text a while ago that said, "Good job today. Now get me a link damn it."

James Garretson (21:50):
So did she get a pretty good story?

Jeff Johnson (21:54):
Yeah. Yeah.

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James Garretson (21:55):
Cool.

Jeff Johnson (21:56):
It was cool because the rest of the week, Monday and Tuesday, they had some reporter that I'd never
heard of. They were just, "Oh, Carole Baskins said that she was in fear for her life. Back to you." It was
like, well, Sylvia Corkhill was, she was dropping bombs.

James Garretson (22:15):
Damn. I bet Joe's already... I mean, Jeff's already fucking raising hell.

Jeff Johnson (22:20):
Oh yeah.

James Garretson (22:21):
Yeah, but what's that going to do? Every time he puts shit on Facebook, he just makes himself look like
an idiot. He's another one that ought to just go into hiding.

Jeff Johnson (22:29):
Yeah.

James Garretson (22:29):
And not say another fucking word.

Jeff Johnson (22:31):
Yep. They're just burying themselves.

James Garretson (22:34):
But every time he says something, he's burying himself more because he's got a lot of explaining to do.

Jeff Johnson (22:40):
Oh yeah. That's why I think when this is over, it ain't over for Lowe.

James Garretson (22:46):
His court's going to be miserable dude.

Jeff Johnson (22:48):
Yeah.

James Garretson (22:48):
They're going to just torture him just every way. Then he's going to see Joe smiling at him, blowing
kisses and stuff. Joe is... the cockiness of him today, was just unreal. I thought he'd be beat down and
whatever.


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Jeff Johnson (23:01):
That's what I figured. But then I kind of wondered if he wasn't going to be Joe Show. Did he do that all
day?

James Garretson (23:08):
He was cocky. He'd always smile and you know how he does his nose thing?

Jeff Johnson (23:12):
Yeah, yeah.

James Garretson (23:13):
Yeah, you saw him over there twitching.

Jeff Johnson (23:15):
Yeah.

James Garretson (23:15):
I didn't look at him much, but when I did have to look at his lawyer when he stood up. I looked at him,
but I looked at the jury. I didn't even look at him.

Jeff Johnson (23:22):
Right. How do you think... well, you said you saw one of the jurors shaking his head.

James Garretson (23:28):
Yeah, I think the jury's total fucking disgusted with him-

Jeff Johnson (23:30):
They're looking at him as just a total crazy person.

James Garretson (23:33):
Yeah, and it was weird because he was in... he was chained a lot.

Jeff Johnson (23:39):
Oh yeah.

James Garretson (23:42):
I don't know if he... when he walked by me to go into the little cell, they had full leg chains on him and
stuff.

Jeff Johnson (23:49):
All be darn. Yeah, I had heard a long time ago when he went into court he was in shackles.

James Garretson (23:56):


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God. Well, let me know if you hear anything. I got to go take Cash home. I've had... he's been with my
mom all day and shit, driving her crazy.

Jeff Johnson (24:02):
All right dude. I'll be in touch.

James Garretson (24:09):
Hello?

Brittany Medina (24:10):
Did you call?

James Garretson (24:12):
Yeah, I was... Hey, so if... once you get in the house, [inaudible 00:24:18] can you just run up here and
get Miley?

Brittany Medina (24:22):
Now, what did you say? I only heard a little bit of what you said.

James Garretson (24:26):
Okay, so when you get in the house in the next day or two... Hold on. Let me think. Let me just think. I
can feed her. She'll be good until tomorrow afternoon. I was wondering if you could just come up here
and get her in the next day or two?

Brittany Medina (24:40):
I don't have the key to the store.

James Garretson (24:41):
Well, I'll give you a key to the store. I'm going to see you. I'm going to bring Cash tonight.

Brittany Medina (24:47):
Okay, so you want me... okay, so you want me to come get her in a day or two. That means I have to
have water and electricity on by tomorrow though.

James Garretson (24:55):
I can do all that for you. You just got to give me the address.

Brittany Medina (24:59):
Okay, because I get the keys tomorrow, but I personally won't be living there until I move all my stuff in
and I just still don't have... I was going to hire movers. It was a process.

James Garretson (25:10):
All right, how much is the movers?


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Brittany Medina (25:12):
I don't know yet. I was calling-

James Garretson (25:13):
Why are you yelling at me?

Brittany Medina (25:15):
I'm not. You're on my phone in my car, so it's just loud talking.

James Garretson (25:20):
Okay, is it like $200? I'll pay for the movers.

Brittany Medina (25:22):
It's probably $200 or maybe less.

James Garretson (25:24):
Okay, I'll pay that.

Brittany Medina (25:26):
But, remember whenever we lived in Osprey Drive, you never paid the water bill there. I'm dealing with
that too right now.

James Garretson (25:35):
I will put it all in a file.

Brittany Medina (25:43):
Okay, let me get a cage. Where is the cage at?

James Garretson (25:46):
I don't know. I got to... we've going to find a bird cage. They're using them somewhere just temporary.

Brittany Medina (25:51):
Okay, so we'll figure that out. Once I get a cage for her, we'll figure it out. Okay? Then whenever I get
the keys tomorrow, then I'll let you know how to turn everything on. I have the address to the place if
you want it now. I sent you a screen shot of it.

James Garretson (26:09):
Okay, well I can't read that. You got to send a big one to me.

Brittany Medina (26:12):
Okay. Do you want me to send it to you right now?

James Garretson (26:12):


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Yes.

Brittany Medina (26:17):
Okay, let me do that for you real quick.

James Garretson (26:19):
Well, here. Tonight send me the address and then what companies I got to call to turn it on.

Brittany Medina (26:25):
The what?

James Garretson (26:26):
Will you please listen?

Brittany Medina (26:28):
I am but you're cutting out.

James Garretson (26:31):
Send me the address in a little bit and the name and whoever I'm calling because I don't know what
town it's in or anything.

Brittany Medina (26:43):
It's Fort Worth but I will send you all the information.

James Garretson (26:45):
Okay. All right. Bye.

Brittany Medina (26:47):
Bye.




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